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                                                                                                  INVOICE
                                                                                        From      Texas Appleseed
                                                                                                  1609 Shoal Creek Blvd
                                                                                                  Ste 201
                                                                                                  Austin, TX 78701




Invoice ID        42                                                               Invoice For    Texas DFPS/HHSC
Issue Date        02/14/2023

Due Date          03/16/2023 (Net 30)

Subject           Texas Appleseed Monitoring Team; January
                  2023




Item Type         Description                                                         Quantity          Unit Price              Amount

Service           Texas Foster Care Court Monitoring - Travel (01/01/2023 -             61.31            $217.29            $13,322.20
                  01/31/2023)


Product           Expenses for Texas Foster Care Court Monitoring - Travel               1.00           $1,871.23            $1,871.23
                  (01/01/2023 - 01/31/2023)


Service           Texas Foster Care Monitoring (01/01/2023 - 01/31/2023)             2,453.26            $281.54           $690,699.80


Product           Expenses for Texas Foster Care Monitoring (01/01/2023 -                1.00           $1,585.51            $1,585.51
                  01/31/2023)


                                                                                                 Amount Due            $707,478.74




Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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                                                                                            INVOICE
                                                                                   From     Texas Appleseed
                                                                                            1609 Shoal Creek Blvd
                                                                                            Ste 201
                                                                                            Austin, TX 78701




Invoice ID       42                                                           Invoice For   Texas DFPS/HHSC
Issue Date       02/14/2023

Due Date         03/16/2023 (Net 30)

Subject          Texas Appleseed Monitoring Team; January
                 2023




Item Type        Description                                                     Quantity         Unit Price          Amount

Service          Texas Foster Care Court Monitoring - Travel - 01/09/2023 -         2.75           $197.50           $543.13
                 Travel / Linda Brooke


Service          Texas Foster Care Court Monitoring - Travel - 01/10/2023 -         3.17           $197.50           $626.08
                 Travel / Linda Brooke


Service          Texas Foster Care Court Monitoring - Travel - 01/17/2023 -         4.75           $162.50           $771.88
                 Travel / Monica Santiago


Service          Texas Foster Care Court Monitoring - Travel - 01/17/2023 -         2.00           $325.00           $650.00
                 Travel / Kristi Law


Service          Texas Foster Care Court Monitoring - Travel - 01/17/2023 -         5.31           $325.00          $1,725.75
                 Travel / Shelly Voss


Service          Texas Foster Care Court Monitoring - Travel - 01/17/2023 -         4.25           $162.50           $690.63
                 Travel / Victoria Foster


Service          Texas Foster Care Court Monitoring - Travel - 01/17/2023 -         4.00           $125.00           $500.00
                 Travel / Catherine Morris


Service          Texas Foster Care Court Monitoring - Travel - 01/18/2023 -         0.75           $325.00           $243.75
                 Travel / Kristi Law


Service          Texas Foster Care Court Monitoring - Travel - 01/18/2023 -         1.65           $325.00           $536.25
                 Travel / Shelly Voss




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Service       Texas Foster Care Court Monitoring - Travel - 01/18/2023 -   1.72    $162.50     $279.50
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 01/18/2023 -   0.83    $125.00     $103.75
              Travel / Catherine Morris


Service       Texas Foster Care Court Monitoring - Travel - 01/19/2023 -   4.42    $162.50     $718.25
              Travel / Monica Santiago


Service       Texas Foster Care Court Monitoring - Travel - 01/19/2023 -   2.33    $325.00     $757.25
              Travel / Kristi Law


Service       Texas Foster Care Court Monitoring - Travel - 01/19/2023 -   5.30    $325.00    $1,722.50
              Travel / Shelly Voss


Service       Texas Foster Care Court Monitoring - Travel - 01/19/2023 -   4.33    $162.50     $703.63
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 01/19/2023 -   0.33    $162.50      $53.63
              Travel / Victoria Foster


Service       Texas Foster Care Court Monitoring - Travel - 01/19/2023 -   4.25    $125.00     $531.25
              Travel / Catherine Morris


Service       Texas Foster Care Court Monitoring - Travel - 01/19/2023 -   0.42    $125.00      $52.50
              Travel / Catherine Morris


Service       Texas Foster Care Court Monitoring - Travel - 01/21/2023 -   2.25    $325.00     $731.25
              Travel / Kristi Law


Service       Texas Foster Care Court Monitoring - Travel - 01/25/2023 -   2.00    $212.50     $425.00
              Travel / Deborah Fowler


Service       Texas Foster Care Court Monitoring - Travel - 01/25/2023 -   1.00    $212.50     $212.50
              EVE/WKND Travel / Deborah Fowler


Service       Texas Foster Care Court Monitoring - Travel - 01/27/2023 -   1.00    $212.50     $212.50
              Travel / Deborah Fowler


Service       Texas Foster Care Court Monitoring - Travel - 01/27/2023 -   2.50    $212.50     $531.25
              EVE/WKND Travel / Deborah Fowler


Product       Expenses for Texas Foster Care Court Monitoring - Travel     1.00   $1,871.23   $1,871.23
              (01/01/2023 - 01/31/2023)


Service       Texas Foster Care Monitoring - 01/01/2023 - Document         2.58    $395.00    $1,019.10
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 01/01/2023 - EVE/WKND         7.00    $425.00    $2,975.00
              Report and Document Preparation / Deborah Fowler




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Service       Texas Foster Care Monitoring - 01/02/2023 - Document        2.13   $325.00    $692.25
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 01/02/2023 - EVE/WKND        6.00   $425.00   $2,550.00
              Report and Document Preparation / Deborah Fowler


Service       Texas Foster Care Monitoring - 01/02/2023 - Document        7.50   $325.00   $2,437.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/02/2023 - Project         1.00   $325.00    $325.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/02/2023 - Project         3.50   $395.00   $1,382.50
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 01/02/2023 - Document        0.50   $250.00    $125.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 01/02/2023 - Document        2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 01/03/2023 - Document        7.50   $200.00   $1,500.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 01/03/2023 - Document        7.75   $325.00   $2,518.75
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 01/03/2023 - Document        7.00   $300.00   $2,100.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 01/03/2023 - Project         1.00   $300.00    $300.00
              Management & Planning / Monica Benedict


Service       Texas Foster Care Monitoring - 01/03/2023 - Document        8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 01/03/2023 - Project         1.50   $325.00    $487.50
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/03/2023 - Document        6.83   $325.00   $2,219.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/03/2023 - Document        3.00   $200.00    $600.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/03/2023 - Project         2.00   $200.00    $400.00
              Management & Planning / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/03/2023 - Document        5.00   $325.00   $1,625.00
              Review/Data Analysis/Verification Work / Kristi Law




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Service       Texas Foster Care Monitoring - 01/03/2023 - Meetings with          1.00   $325.00    $325.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Victoria
              Foster


Service       Texas Foster Care Monitoring - 01/03/2023 - Document               7.00   $325.00   $2,275.00
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 01/03/2023 - Project                4.92   $395.00   $1,943.40
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 01/03/2023 - Document               2.42   $395.00    $955.90
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 01/03/2023 - Meetings with          1.00   $395.00    $395.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 01/03/2023 -                        0.50   $395.00    $197.50
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Linda Brooke


Service       Texas Foster Care Monitoring - 01/03/2023 - Meetings with          1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 01/03/2023 - Document               8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 01/03/2023 - Document               8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 01/03/2023 -                        0.50   $200.00    $100.00
              Addressing/managing/attempting to resolve DFPS/HHSC
              technology challenges or barriers to data and information. /
              Nora Sawyer


Service       Texas Foster Care Monitoring - 01/03/2023 - Document               3.00   $325.00    $975.00
              Review/Data Analysis/Verification Work / Shelly Voss


Service       Texas Foster Care Monitoring - 01/03/2023 - Document               8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Alyssa Baquera


Service       Texas Foster Care Monitoring - 01/03/2023 - Document               5.50   $250.00   $1,375.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 01/03/2023 - Document               0.08   $250.00     $20.00
              Review/Data Analysis/Verification Work / Catherine Morris




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Service       Texas Foster Care Monitoring - 01/03/2023 - Meetings with            1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 01/03/2023 - Meetings with            1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 01/03/2023 - Document                 1.00   $425.00    $425.00
              Review/Data Analysis/Verification Work / Deborah Fowler


Service       Texas Foster Care Monitoring - 01/03/2023 - Document                 8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 01/03/2023 - Project                  8.00   $325.00   $2,600.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 01/04/2023 - Document                 8.00   $200.00   $1,600.00
              Review/Data Analysis/Verification Work / Nora Sawyer


Service       Texas Foster Care Monitoring - 01/04/2023 - Document                 8.50   $325.00   $2,762.50
              Review/Data Analysis/Verification Work / Monica Santiago


Service       Texas Foster Care Monitoring - 01/04/2023 - Document                 7.83   $325.00   $2,544.75
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/04/2023 - Project                  6.00   $200.00   $1,200.00
              Management & Planning / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/04/2023 - Document                 2.00   $200.00    $400.00
              Review/Data Analysis/Verification Work / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/04/2023 - Document                 8.00   $300.00   $2,400.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 01/04/2023 - Meetings with            1.00   $325.00    $325.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Kristi Law


Service       Texas Foster Care Monitoring - 01/04/2023 - Document                 6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Kristi Law


Service       Texas Foster Care Monitoring - 01/04/2023 - Meetings with            0.75   $325.00    $243.75
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Victoria
              Foster


Service       Texas Foster Care Monitoring - 01/04/2023 - Document                 4.58   $325.00   $1,488.50
              Review/Data Analysis/Verification Work / Victoria Foster




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Service       Texas Foster Care Monitoring - 01/04/2023 - Project               5.17   $395.00   $2,042.15
              Management & Planning / Linda Brooke


Service       Texas Foster Care Monitoring - 01/04/2023 - Document              3.92   $395.00   $1,548.40
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 01/04/2023 - Meetings with         1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 01/04/2023 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 01/04/2023 - Document              8.00   $325.00   $2,600.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 01/04/2023 - Document              8.00   $250.00   $2,000.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 01/04/2023 - Meetings with         0.78   $325.00    $253.50
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Shelly
              Voss


Service       Texas Foster Care Monitoring - 01/04/2023 - Document              5.97   $325.00   $1,940.25
              Review/Data Analysis/Verification Work / Shelly Voss


Service       Texas Foster Care Monitoring - 01/04/2023 - Document              7.00   $200.00   $1,400.00
              Review/Data Analysis/Verification Work / Alyssa Baquera


Service       Texas Foster Care Monitoring - 01/04/2023 - Document              0.08   $250.00     $20.00
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 01/04/2023 - Document              0.83   $250.00    $207.50
              Review/Data Analysis/Verification Work / Catherine Morris


Service       Texas Foster Care Monitoring - 01/04/2023 - Document              8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 01/04/2023 - Project               8.00   $325.00   $2,600.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              0.49   $300.00    $147.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              7.00   $200.00   $1,400.00
              Review/Data Analysis/Verification Work / Nora Sawyer




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Service       Texas Foster Care Monitoring - 01/05/2023 - Meetings with         2.00   $250.00    $500.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Borman


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              0.12   $300.00     $36.00
              Review/Data Analysis/Verification Work / Robert McManus


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              2.00   $250.00    $500.00
              Review/Data Analysis/Verification Work / Deborah Borman


Service       Texas Foster Care Monitoring - 01/05/2023 - Project               1.00   $200.00    $200.00
              Management & Planning / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/05/2023 - Project               0.25   $200.00     $50.00
              Management & Planning / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/05/2023 - Project               6.75   $200.00   $1,350.00
              Management & Planning / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              6.42   $325.00   $2,086.50
              Review/Data Analysis/Verification Work / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/05/2023 - Meetings with         1.00   $325.00    $325.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Nancy
              Arrigona


Service       Texas Foster Care Monitoring - 01/05/2023 - Project               1.00   $325.00    $325.00
              Management & Planning / Nancy Arrigona


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              5.00   $300.00   $1,500.00
              Review/Data Analysis/Verification Work / Monica Benedict


Service       Texas Foster Care Monitoring - 01/05/2023 - Meetings with         2.00   $300.00    $600.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Monica
              Benedict


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Kristi Law


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              5.67   $325.00   $1,842.75
              Review/Data Analysis/Verification Work / Victoria Foster


Service       Texas Foster Care Monitoring - 01/05/2023 - Meetings with         2.00   $395.00    $790.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Linda
              Brooke


Service       Texas Foster Care Monitoring - 01/05/2023 - Project               4.33   $395.00   $1,710.35
              Management & Planning / Linda Brooke



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Service       Texas Foster Care Monitoring - 01/05/2023 - Document              3.17   $395.00   $1,252.15
              Review/Data Analysis/Verification Work / Linda Brooke


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              7.00   $250.00   $1,750.00
              Review/Data Analysis/Verification Work / Shay Price


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              5.00   $325.00   $1,625.00
              Review/Data Analysis/Verification Work / Clarice Rogers


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              6.00   $250.00   $1,500.00
              Review/Data Analysis/Verification Work / Mahiri Moody


Service       Texas Foster Care Monitoring - 01/05/2023 - Meetings with         1.00   $250.00    $250.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Mahiri
              Moody


Service       Texas Foster Care Monitoring - 01/05/2023 - Project               1.00   $200.00    $200.00
              Management & Planning / Nora Sawyer


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              6.00   $325.00   $1,950.00
              Review/Data Analysis/Verification Work / Shelly Voss


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              7.00   $200.00   $1,400.00
              Review/Data Analysis/Verification Work / Alyssa Baquera


Service       Texas Foster Care Monitoring - 01/05/2023 - Meetings with         1.00   $425.00    $425.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Deborah
              Fowler


Service       Texas Foster Care Monitoring - 01/05/2023 - Document              8.00   $120.00    $960.00
              Review/Data Analysis/Verification Work / Anna Farr


Service       Texas Foster Care Monitoring - 01/05/2023 - Meetings with         2.00   $325.00    $650.00
              agency leadership, staff, clients, conference calls, time spent
              with team, plaintiffs consultants or other providers. / Viveca
              Martinez


Service       Texas Foster Care Monitoring - 01/05/2023 - Project               6.00   $325.00   $1,950.00
              Management & Planning / Viveca Martinez


Service       Texas Foster Care Monitoring - 01/06/2023 - Project               0.25   $200.00     $50.00
              Management & Planning / Adrian Gaspar


Service       Texas Foster Care Monitoring - 01/06/2023 - Document              1.00   $250.00    $250.00
              Review/Data Analysis/Verification Work / Deborah Borman




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Service        Texas Foster Care Monitoring - 01/06/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              4.50   $300.00   $1,350.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/06/2023 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              2.83   $325.00    $919.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/06/2023 - Meetings with         0.50   $395.00    $197.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              5.75   $395.00   $2,271.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/06/2023 - Project               1.33   $395.00    $525.35
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              8.33   $325.00   $2,707.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              0.33   $250.00     $82.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              7.67   $250.00   $1,917.50
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              7.33   $325.00   $2,382.25
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/06/2023 - Meetings with         0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody




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Service        Texas Foster Care Monitoring - 01/06/2023 - Document              7.25   $250.00   $1,812.50
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/06/2023 - Project               7.75   $200.00   $1,550.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              0.42   $250.00    $105.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/06/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/06/2023 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/06/2023 - Project               7.00   $325.00   $2,275.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/07/2023 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/07/2023 - EVE/WKND              7.00   $425.00   $2,975.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/08/2023 - Document              5.75   $395.00   $2,271.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/08/2023 - EVE/WKND              5.00   $425.00   $2,125.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/09/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/09/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


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Service        Texas Foster Care Monitoring - 01/09/2023 - Project                1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/09/2023 - Meetings with          1.00   $300.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 01/09/2023 - Document               6.00   $300.00   $1,800.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/09/2023 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/09/2023 - Document               2.00   $200.00    $400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/09/2023 - Document               6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/09/2023 - Document               4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 01/09/2023 - Document               7.67   $325.00   $2,492.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/09/2023 - Document               4.25   $395.00   $1,678.75
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/09/2023 - Project                2.75   $395.00   $1,086.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/09/2023 - Document               1.23   $325.00    $399.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/09/2023 - Document               5.10   $325.00   $1,657.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/09/2023 - Meetings with          0.90   $325.00    $292.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 01/09/2023 - Meetings with          0.90   $325.00    $292.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 01/09/2023 - Document               5.17   $325.00   $1,680.25
               Review/Data Analysis/Verification Work / Victoria Foster




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Service        Texas Foster Care Monitoring - 01/09/2023 - Document                 6.83   $325.00   $2,219.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/09/2023 - Document                 3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/09/2023 - Meetings with            0.75   $325.00    $243.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 01/09/2023 - Document                 0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/09/2023 -                          0.25   $250.00     $62.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Catherine Morris


Service        Texas Foster Care Monitoring - 01/09/2023 - Meetings with            0.92   $250.00    $230.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 01/09/2023 - Document                 3.50   $200.00    $700.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/09/2023 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/09/2023 - Meetings with            2.00   $325.00    $650.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/09/2023 - Project                  7.00   $325.00   $2,275.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/10/2023 - Document                 8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/10/2023 - Document                 8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/10/2023 - Document                 4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 01/10/2023 - Document                 8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/10/2023 - Document                 4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict




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Service        Texas Foster Care Monitoring - 01/10/2023 - Project               4.00   $300.00   $1,200.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/10/2023 - Project               3.50   $325.00   $1,137.50
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/10/2023 - Document              5.17   $325.00   $1,680.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/10/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/10/2023 - Meetings with         4.50   $395.00   $1,777.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/10/2023 - Project               2.33   $395.00    $920.35
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/10/2023 - Document              1.33   $395.00    $525.35
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/10/2023 - Document              4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/10/2023 - Document              7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/10/2023 - Project               4.75   $325.00   $1,543.75
               Management & Planning / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/10/2023 - Document              3.75   $325.00   $1,218.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/10/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/10/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/10/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/10/2023 - Meetings with         4.75   $325.00   $1,543.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/10/2023 - Project               5.00   $325.00   $1,625.00
               Management & Planning / Viveca Martinez




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Service        Texas Foster Care Monitoring - 01/11/2023 - Document              7.25   $200.00   $1,450.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/11/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/11/2023 - Project               0.75   $200.00    $150.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/11/2023 - Document              4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/11/2023 - Project               4.00   $300.00   $1,200.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/11/2023 - Report and            2.50   $325.00    $812.50
               Document Preparation / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/11/2023 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/11/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/11/2023 - Meetings with         0.75   $395.00    $296.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/11/2023 - Project               2.42   $395.00    $955.90
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/11/2023 - Document              6.50   $395.00   $2,567.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/11/2023 - Document              1.80   $325.00    $585.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/11/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/11/2023 - Document              7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/11/2023 - Document              1.22   $325.00    $396.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/11/2023 - Document              5.50   $325.00   $1,787.50
               Review/Data Analysis/Verification Work / Clarice Rogers




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Service        Texas Foster Care Monitoring - 01/11/2023 - Meetings with            0.75   $325.00    $243.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 01/11/2023 - Meetings with            1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 01/11/2023 - Document                 0.75   $250.00    $187.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/11/2023 - Document                 1.75   $250.00    $437.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/11/2023 - Document                 1.17   $250.00    $292.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/11/2023 - Meetings with            3.00   $200.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 01/11/2023 - Document                 6.00   $200.00   $1,200.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/11/2023 - Document                 8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/11/2023 - Document                 7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/11/2023 - Project                  3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/12/2023 - Document                 8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/12/2023 - Document                 5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/12/2023 - Project                  3.00   $300.00    $900.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/12/2023 - Document                 4.75   $325.00   $1,543.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/12/2023 - Document                 2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman




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Service        Texas Foster Care Monitoring - 01/12/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/12/2023 - Document              3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 01/12/2023 - Document              6.20   $325.00   $2,015.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/12/2023 - Meetings with         0.42   $425.00    $178.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/12/2023 - Document              7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/12/2023 - Project               1.75   $395.00    $691.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/12/2023 - Document              6.92   $395.00   $2,733.40
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/12/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/12/2023 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/12/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/12/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/12/2023 -                       1.00   $325.00    $325.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Viveca Martinez


Service        Texas Foster Care Monitoring - 01/12/2023 - Project               6.00   $325.00   $1,950.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/12/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/12/2023 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell



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Service        Texas Foster Care Monitoring - 01/12/2023 - Document              2.00   $395.00    $790.00
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              3.25   $325.00   $1,056.25
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              1.60   $325.00    $520.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/13/2023 - Project               1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/13/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/13/2023 - Judicial              0.67   $425.00    $284.75
               Proceeding / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/13/2023 - Meetings with         0.17   $425.00     $72.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              7.25   $325.00   $2,356.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/13/2023 - Meetings with         0.50   $395.00    $197.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              8.83   $395.00   $3,487.85
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Kristi Law




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Service        Texas Foster Care Monitoring - 01/13/2023 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              6.58   $250.00   $1,645.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              7.00   $200.00   $1,400.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/13/2023 - Meetings with         0.75   $325.00    $243.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/13/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/14/2023 - Report and            4.00   $250.00   $1,000.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 01/14/2023 - EVE/WKND              6.00   $425.00   $2,550.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/14/2023 - Document              1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/14/2023 - Document              2.58   $250.00    $645.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/15/2023 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/15/2023 - EVE/WKND              6.50   $425.00   $2,762.50
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/16/2023 - Document              8.00   $395.00   $3,160.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/16/2023 - EVE/WKND              6.00   $425.00   $2,550.00
               Report and Document Preparation / Deborah Fowler


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Service        Texas Foster Care Monitoring - 01/16/2023 - Document              4.42   $325.00   $1,436.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/16/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 01/16/2023 - Document              4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/16/2023 - Document              4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/16/2023 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/16/2023 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              2.00   $250.00    $500.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/17/2023 - Meetings with         1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              8.00   $300.00   $2,400.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              8.67   $325.00   $2,817.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              4.00   $120.00    $480.00
               Review/Data Analysis/Verification Work / Anna Farr


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Service        Texas Foster Care Monitoring - 01/17/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/17/2023 - Project               2.50   $395.00    $987.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              5.83   $395.00   $2,302.85
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/17/2023 - Project               2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              7.50   $325.00   $2,437.50
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              2.25   $395.00    $888.75
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/17/2023 - Meetings with         0.50   $395.00    $197.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/17/2023 - Document              1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/18/2023 - Document              6.65   $200.00   $1,330.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/18/2023 - Document              8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/18/2023 - Document              7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/18/2023 - Meetings with         1.00   $300.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 01/18/2023 - Report and            4.00   $250.00   $1,000.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 01/18/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price




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Service        Texas Foster Care Monitoring - 01/18/2023 - Document              10.63   $325.00   $3,454.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/18/2023 - Document               0.87   $325.00    $282.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/18/2023 - Document              10.50   $325.00   $3,412.50
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/18/2023 - Document               5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 01/18/2023 - Document               9.67   $325.00   $3,142.75
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/18/2023 - Project                0.75   $200.00    $150.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/18/2023 - Document              12.23   $325.00   $3,974.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/18/2023 - Document               7.75   $325.00   $2,518.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/18/2023 - Meetings with          1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 01/18/2023 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/18/2023 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/18/2023 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/18/2023 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/18/2023 - Meetings with          1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/18/2023 - Project                1.50   $395.00    $592.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/18/2023 - Document               6.67   $395.00   $2,634.65
               Review/Data Analysis/Verification Work / Linda Brooke




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Service        Texas Foster Care Monitoring - 01/18/2023 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/18/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/18/2023 - Meetings with         1.12   $325.00    $364.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 01/18/2023 - Document              1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/18/2023 - Document              9.17   $250.00   $2,292.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/18/2023 - Document              1.42   $250.00    $355.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/19/2023 - Report and            4.00   $250.00   $1,000.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 01/19/2023 - Meetings with         0.50   $250.00    $125.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/19/2023 - Meetings with         1.00   $300.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              2.33   $325.00    $757.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              1.83   $325.00    $594.75
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Jessica Tyler



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Service        Texas Foster Care Monitoring - 01/19/2023 - Document              0.60   $325.00    $195.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              8.60   $200.00   $1,720.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              2.55   $325.00    $828.75
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              6.75   $325.00   $2,193.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/19/2023 - Project               1.00   $325.00    $325.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/19/2023 - Meetings with         1.33   $395.00    $525.35
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/19/2023 - Project               1.00   $395.00    $395.00
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              4.50   $395.00   $1,777.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/19/2023 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/19/2023 - Project               2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              1.33   $395.00    $525.35
               Review/Data Analysis/Verification Work / Beth Mitchell




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Service        Texas Foster Care Monitoring - 01/19/2023 - Document              6.75   $325.00   $2,193.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              1.92   $250.00    $480.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/19/2023 - Document              0.83   $250.00    $207.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/20/2023 - Meetings with         1.00   $300.00    $300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              4.50   $325.00   $1,462.50
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              3.80   $325.00   $1,235.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/20/2023 - Meetings with         1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              1.00   $425.00    $425.00
               Review/Data Analysis/Verification Work / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              3.25   $325.00   $1,056.25
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              0.58   $325.00    $188.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              5.17   $325.00   $1,680.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/20/2023 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              7.42   $325.00   $2,411.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict




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Service        Texas Foster Care Monitoring - 01/20/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/20/2023 - Report and            5.00   $250.00   $1,250.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              7.08   $395.00   $2,796.60
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/20/2023 - Meetings with         1.00   $395.00    $395.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/20/2023 - Project               0.75   $395.00    $296.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/20/2023 - Meetings with         1.00   $325.00    $325.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/20/2023 - Project               4.00   $325.00   $1,300.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              1.50   $395.00    $592.50
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/20/2023 - Document              8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers




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Service        Texas Foster Care Monitoring - 01/20/2023 - Document           5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/21/2023 - Document           0.85   $300.00    $255.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 01/21/2023 - EVE/WKND           7.00   $425.00   $2,975.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/21/2023 - Document           1.75   $325.00    $568.75
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/21/2023 - Document           5.50   $395.00   $2,172.50
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/21/2023 - Document           3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/21/2023 - Document           1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/22/2023 - Document           0.77   $300.00    $231.00
               Review/Data Analysis/Verification Work / Robert McManus


Service        Texas Foster Care Monitoring - 01/22/2023 - EVE/WKND           6.00   $425.00   $2,550.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/22/2023 - Document           3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/22/2023 - Document           2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/22/2023 - Document           2.67   $395.00   $1,054.65
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/23/2023 - Project            0.50   $200.00    $100.00
               Management & Planning / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/23/2023 - Document           7.50   $200.00   $1,500.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/23/2023 -                    0.13   $300.00     $39.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Robert McManus


Service        Texas Foster Care Monitoring - 01/23/2023 - Document           4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Jessica Tyler


Service        Texas Foster Care Monitoring - 01/23/2023 - Document           0.36   $300.00    $108.00
               Review/Data Analysis/Verification Work / Robert McManus


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Service        Texas Foster Care Monitoring - 01/23/2023 - Document               7.00   $250.00   $1,750.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/23/2023 - Document               1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/23/2023 - Document               5.32   $325.00   $1,729.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/23/2023 - Document               7.00   $300.00   $2,100.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/23/2023 - Project                1.00   $300.00    $300.00
               Management & Planning / Monica Benedict


Service        Texas Foster Care Monitoring - 01/23/2023 - Document               3.75   $395.00   $1,481.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/23/2023 - Meetings with          2.33   $395.00    $920.35
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/23/2023 -                        1.00   $395.00    $395.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Linda Brooke


Service        Texas Foster Care Monitoring - 01/23/2023 - Project                2.58   $395.00   $1,019.10
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/23/2023 - Meetings with          1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/23/2023 - Document               9.17   $325.00   $2,980.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/23/2023 - Meetings with          0.92   $325.00    $299.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 01/23/2023 - Meetings with          0.75   $325.00    $243.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 01/23/2023 - Meetings with          1.08   $325.00    $351.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


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Service        Texas Foster Care Monitoring - 01/23/2023 - Document                 8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/23/2023 - Meetings with            1.75   $395.00    $691.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Beth
               Mitchell


Service        Texas Foster Care Monitoring - 01/23/2023 - Document                 5.50   $325.00   $1,787.50
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/23/2023 - Meetings with            0.75   $325.00    $243.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 01/23/2023 - Document                 8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/23/2023 -                          2.00   $250.00    $500.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Catherine Morris


Service        Texas Foster Care Monitoring - 01/23/2023 - Meetings with            0.83   $250.00    $207.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris


Service        Texas Foster Care Monitoring - 01/23/2023 - Document                 1.08   $250.00    $270.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/23/2023 - Document                 0.08   $250.00     $20.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/23/2023 - Document                 4.00   $325.00   $1,300.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/23/2023 - Meetings with            0.77   $325.00    $250.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 01/23/2023 - Document                 2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/23/2023 - Document                 3.00   $200.00    $600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/23/2023 - Document                 4.00   $200.00    $800.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/23/2023 - Document                 1.00   $200.00    $200.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


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Service        Texas Foster Care Monitoring - 01/23/2023 - Meetings with         4.00   $325.00   $1,300.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Viveca
               Martinez


Service        Texas Foster Care Monitoring - 01/23/2023 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/23/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/23/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/24/2023 - Meetings with         0.50   $425.00    $212.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/24/2023 - Meetings with         3.00   $300.00    $900.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              6.58   $325.00   $2,138.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/24/2023 - Project               1.00   $325.00    $325.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/24/2023 - Report and            3.00   $250.00    $750.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              1.25   $325.00    $406.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price




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Service        Texas Foster Care Monitoring - 01/24/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/24/2023 - Project               0.75   $395.00    $296.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              8.75   $395.00   $3,456.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              5.75   $325.00   $1,868.75
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              2.83   $250.00    $707.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/24/2023 -                       1.00   $325.00    $325.00
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Viveca Martinez


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/24/2023 - Project               3.00   $325.00    $975.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/24/2023 - Meetings with         3.00   $200.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/24/2023 - Document              8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/25/2023 - Document              8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/25/2023 - Document              8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer




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Service        Texas Foster Care Monitoring - 01/25/2023 - Document        3.00   $300.00    $900.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/25/2023 - Report and      1.00   $250.00    $250.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/25/2023 - Project         1.00   $325.00    $325.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        0.75   $395.00    $296.25
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        1.25   $325.00    $406.25
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        5.25   $325.00   $1,706.25
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        7.42   $395.00   $2,930.90
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/25/2023 - Project         0.67   $395.00    $264.65
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        5.33   $250.00   $1,332.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/25/2023 - Document        8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar




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Service        Texas Foster Care Monitoring - 01/25/2023 -                        0.50   $325.00    $162.50
               Addressing/managing/attempting to resolve DFPS/HHSC
               technology challenges or barriers to data and information. /
               Viveca Martinez


Service        Texas Foster Care Monitoring - 01/25/2023 - Document               8.00   $325.00   $2,600.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/25/2023 - Project                1.00   $325.00    $325.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/25/2023 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/25/2023 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/26/2023 - Meetings with          1.00   $425.00    $425.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               8.00   $250.00   $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               8.00   $300.00   $2,400.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               8.50   $325.00   $2,762.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               4.50   $250.00   $1,125.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/26/2023 - Meetings with          1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               5.15   $325.00   $1,673.75
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/26/2023 - Meetings with          0.37   $325.00    $120.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Victoria
               Foster


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               1.50   $325.00    $487.50
               Review/Data Analysis/Verification Work / Victoria Foster



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Service        Texas Foster Care Monitoring - 01/26/2023 - Document               5.00   $325.00   $1,625.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/26/2023 - Meetings with          0.45   $325.00    $146.25
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 01/26/2023 - Report and             4.80   $325.00   $1,560.00
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/26/2023 - Document              10.58   $395.00   $4,179.10
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               1.50   $250.00    $375.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               6.00   $250.00   $1,500.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               6.00   $325.00   $1,950.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               7.00   $325.00   $2,275.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/26/2023 - Project                2.00   $325.00    $650.00
               Management & Planning / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/26/2023 - Document               8.00   $120.00    $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial               5.42   $250.00   $1,355.00
               Proceeding / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/27/2023 - Meetings with          1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman




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Service        Texas Foster Care Monitoring - 01/27/2023 - Document              3.00   $250.00    $750.00
               Review/Data Analysis/Verification Work / Deborah Borman


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial              5.00   $250.00   $1,250.00
               Proceeding / Deborah Borman


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial              4.50   $300.00   $1,350.00
               Proceeding / Monica Benedict


Service        Texas Foster Care Monitoring - 01/27/2023 - Document              3.50   $300.00   $1,050.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/27/2023 - Document              6.25   $325.00   $2,031.25
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/27/2023 - Document              1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial              5.25   $325.00   $1,706.25
               Proceeding / Victoria Foster


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial              3.83   $395.00   $1,512.85
               Proceeding / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial              5.25   $325.00   $1,706.25
               Proceeding / Shelly Voss


Service        Texas Foster Care Monitoring - 01/27/2023 - Report and            1.25   $325.00    $406.25
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 01/27/2023 - Document              1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/27/2023 - Meetings with         5.42   $395.00   $2,140.90
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/27/2023 - Document              5.00   $395.00   $1,975.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial              4.92   $325.00   $1,599.00
               Proceeding / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/27/2023 - Document              4.17   $325.00   $1,355.25
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial              5.00   $200.00   $1,000.00
               Proceeding / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/27/2023 - Document              3.00   $200.00    $600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


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Service        Texas Foster Care Monitoring - 01/27/2023 - Document                 1.00   $250.00    $250.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial                 5.25   $250.00   $1,312.50
               Proceeding / Catherine Morris


Service        Texas Foster Care Monitoring - 01/27/2023 - Meetings with            5.42   $325.00   $1,761.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 01/27/2023 - Document                 2.00   $325.00    $650.00
               Review/Data Analysis/Verification Work / Kristi Law


Service        Texas Foster Care Monitoring - 01/27/2023 - Document                 2.50   $250.00    $625.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial                 5.38   $250.00   $1,345.00
               Proceeding / Shay Price


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial                 5.25   $200.00   $1,050.00
               Proceeding / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/27/2023 - Document                 2.75   $200.00    $550.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial                 6.00   $425.00   $2,550.00
               Proceeding / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/27/2023 - Meetings with            1.50   $425.00    $637.50
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Fowler


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial                 6.00   $325.00   $1,950.00
               Proceeding / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/27/2023 - Document                 3.00   $325.00    $975.00
               Review/Data Analysis/Verification Work / Viveca Martinez


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial                 7.00   $200.00   $1,400.00
               Proceeding / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/27/2023 - Project                  0.50   $200.00    $100.00
               Management & Planning / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/27/2023 - Document                 0.50   $200.00    $100.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/27/2023 - Judicial                 5.00   $120.00    $600.00
               Proceeding / Anna Farr




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Service        Texas Foster Care Monitoring - 01/27/2023 - Document              3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/28/2023 - Document              1.83   $395.00    $722.85
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/28/2023 - Document              3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/28/2023 - Document              2.50   $250.00    $625.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/28/2023 - EVE/WKND              7.00   $425.00   $2,975.00
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/29/2023 - Report and            3.00   $250.00    $750.00
               Document Preparation / Deborah Borman


Service        Texas Foster Care Monitoring - 01/29/2023 - EVE/WKND              3.50   $425.00   $1,487.50
               Report and Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/29/2023 - Report and            1.25   $325.00    $406.25
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 01/29/2023 - Document              1.00   $325.00    $325.00
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/30/2023 - Document              5.13   $200.00   $1,026.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/30/2023 - Document              5.00   $300.00   $1,500.00
               Review/Data Analysis/Verification Work / Monica Benedict


Service        Texas Foster Care Monitoring - 01/30/2023 - Meetings with         3.00   $300.00    $900.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Monica
               Benedict


Service        Texas Foster Care Monitoring - 01/30/2023 - Meetings with         2.87   $200.00    $574.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nora
               Sawyer


Service        Texas Foster Care Monitoring - 01/30/2023 - Meetings with         3.00   $325.00    $975.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Nancy
               Arrigona


Service        Texas Foster Care Monitoring - 01/30/2023 - Document              4.33   $325.00   $1,407.25
               Review/Data Analysis/Verification Work / Nancy Arrigona




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Service        Texas Foster Care Monitoring - 01/30/2023 - Project                  1.00   $325.00    $325.00
               Management & Planning / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/30/2023 - Meetings with            3.00   $395.00   $1,185.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Linda
               Brooke


Service        Texas Foster Care Monitoring - 01/30/2023 - Project                  1.75   $395.00    $691.25
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 5.75   $395.00   $2,271.25
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 3.50   $325.00   $1,137.50
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 1.17   $395.00    $462.15
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 2.83   $395.00   $1,117.85
               Review/Data Analysis/Verification Work / Beth Mitchell


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 2.88   $325.00    $936.00
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 4.25   $325.00   $1,381.25
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 5.00   $250.00   $1,250.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/30/2023 - Meetings with            3.00   $250.00    $750.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shay Price


Service        Texas Foster Care Monitoring - 01/30/2023 - Meetings with            3.00   $250.00    $750.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Mahiri
               Moody


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 3.58   $250.00    $895.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/30/2023 - Meetings with            3.00   $250.00    $750.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Catherine
               Morris




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Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 0.33   $250.00     $82.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 0.25   $250.00     $62.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/30/2023 - Project                  3.00   $200.00    $600.00
               Management & Planning / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 5.00   $200.00   $1,000.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/30/2023 - Meetings with            2.87   $325.00    $932.75
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Shelly
               Voss


Service        Texas Foster Care Monitoring - 01/30/2023 - Report and               4.80   $325.00   $1,560.00
               Document Preparation / Shelly Voss


Service        Texas Foster Care Monitoring - 01/30/2023 - Meetings with            1.00   $250.00    $250.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Deborah
               Borman


Service        Texas Foster Care Monitoring - 01/30/2023 - Meetings with            3.00   $200.00    $600.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Alyssa
               Baquera


Service        Texas Foster Care Monitoring - 01/30/2023 - Project                  5.00   $200.00   $1,000.00
               Management & Planning / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 3.00   $120.00    $360.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/30/2023 - Document                 5.00   $120.00    $600.00
               Review/Data Analysis/Verification Work / Anna Farr


Service        Texas Foster Care Monitoring - 01/30/2023 - Meetings with            3.00   $325.00    $975.00
               agency leadership, staff, clients, conference calls, time spent
               with team, plaintiffs consultants or other providers. / Kristi Law


Service        Texas Foster Care Monitoring - 01/31/2023 - Document                 8.00   $200.00   $1,600.00
               Review/Data Analysis/Verification Work / Nora Sawyer


Service        Texas Foster Care Monitoring - 01/31/2023 - Document                 2.50   $325.00    $812.50
               Review/Data Analysis/Verification Work / Victoria Foster


Service        Texas Foster Care Monitoring - 01/31/2023 - Document                 4.00   $300.00   $1,200.00
               Review/Data Analysis/Verification Work / Monica Benedict




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Service        Texas Foster Care Monitoring - 01/31/2023 - Document          8.00        $250.00        $2,000.00
               Review/Data Analysis/Verification Work / Shay Price


Service        Texas Foster Care Monitoring - 01/31/2023 - Document          6.80        $325.00        $2,210.00
               Review/Data Analysis/Verification Work / Monica Santiago


Service        Texas Foster Care Monitoring - 01/31/2023 - Document          9.00        $325.00        $2,925.00
               Review/Data Analysis/Verification Work / Clarice Rogers


Service        Texas Foster Care Monitoring - 01/31/2023 - Document          0.75        $250.00         $187.50
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/31/2023 - Document          3.50        $250.00         $875.00
               Review/Data Analysis/Verification Work / Catherine Morris


Service        Texas Foster Care Monitoring - 01/31/2023 - Document          8.00        $200.00        $1,600.00
               Review/Data Analysis/Verification Work / Adrian Gaspar


Service        Texas Foster Care Monitoring - 01/31/2023 - Document          8.00        $395.00        $3,160.00
               Review/Data Analysis/Verification Work / Linda Brooke


Service        Texas Foster Care Monitoring - 01/31/2023 - Project           0.50        $395.00         $197.50
               Management & Planning / Linda Brooke


Service        Texas Foster Care Monitoring - 01/31/2023 - Document          8.00        $250.00        $2,000.00
               Review/Data Analysis/Verification Work / Mahiri Moody


Service        Texas Foster Care Monitoring - 01/31/2023 - Document          8.75        $325.00        $2,843.75
               Review/Data Analysis/Verification Work / Nancy Arrigona


Service        Texas Foster Care Monitoring - 01/31/2023 - Document        4.7499        $325.00        $1,543.72
               Review/Data Analysis/Verification Work / Shelly Voss


Service        Texas Foster Care Monitoring - 01/31/2023 - Project           3.50        $250.00         $875.00
               Management & Planning / Deborah Borman


Service        Texas Foster Care Monitoring - 01/31/2023 - Report and        4.00        $425.00        $1,700.00
               Document Preparation / Deborah Fowler


Service        Texas Foster Care Monitoring - 01/31/2023 - Document          8.00        $200.00        $1,600.00
               Review/Data Analysis/Verification Work / Alyssa Baquera


Service        Texas Foster Care Monitoring - 01/31/2023 - Document          8.00        $120.00         $960.00
               Review/Data Analysis/Verification Work / Anna Farr


Product        Expenses for Texas Foster Care Monitoring (01/01/2023 -       1.00       $1,585.51       $1,585.51
               01/31/2023)


                                                                                    Amount Due      $707,478.74




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Notes

All documents reviewed include data and information submitted by DFPS and HHSC; laws, policies, regulations; the agencies' websites and
other relevant, publicly-available data and information; communications with the parties; and internal work product for the Court.




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Expense report for                                                 Texas Appleseed
Invoice 42

01/19/2023                             $255.06

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Kristi Law
Staybridge Suites- New Caney visit




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01/19/2023                                $255.06

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Catherine Morris
Ray of Hope Visit




01/19/2023                                $336.15

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Catherine Morris
Corpus to Houston [513.2 miles]


01/20/2023                                $255.06

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Shelly Voss
Hotel receipt for site visit to Ray of Hope RTC




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01/20/2023                             $255.06

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Lodging
Person    Victoria Foster
Staybridge Suites




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01/20/2023                                   $380.56

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Victoria Foster
Mileage from Fort Worth to Humble Texas for
RTC Monitoring Visit [581.0 miles]


01/21/2023                                   $134.28

Client    Texas DFPS/HHSC
          Texas Foster Care Court Monitoring -
Project
          Travel
Category Mileage
Person    Kristi Law
205 miles- Home, hotel, hotel to facility, facility
home 1/21.23- home-facility back home [205.0
miles]


01/10/2023                                   $151.71

Client      Texas DFPS/HHSC
Project     Texas Foster Care Monitoring
Category Lodging
Person      Linda Brooke
Meetings at TA offices




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01/10/2023                                 $221.39

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Mileage
Person     Linda Brooke
Travel to and from home to TA office for
meetings [338.0 miles]


01/10/2023                                  $16.88

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Meals
Person     Linda Brooke




01/19/2023                                 $255.06

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Lodging
Person     Monica Santiago
Hotel stay during monitoring visit at Ray of Hope
RTC 1/17/2023 - 1/19/2023




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01/25/2023                           $134.28

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Mileage
Person     Deborah Fowler
Austin to Dallas [205.0 miles]




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01/26/2023                            $14.88

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Meals
Person     Deborah Fowler
DF - 01.26.23 - El Fenix - Dinner w
Commissioner Muth CPC $14.88




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01/27/2023                           $658.34

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Lodging
Person     Deborah Fowler
Hotel for Dallas meeting/hearing




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01/27/2023                           $132.97

Client     Texas DFPS/HHSC
Project    Texas Foster Care Monitoring
Category Mileage
Person     Deborah Fowler
Dallas to Austin [203.0 miles]




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